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                                THE EXECUTIVE BRANCH GENERAL COUNSEL
                                                  SANTO DOMINGO
                                                   National District

     No.: 1055
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 13-20544-CIV-MOORE

     ARCIDTECTURAL INGENIERIA
     SIGLO XXI, LLC, a Florida limited liability
     company, and SUN LAND & RGITC LLC
     f/k/a SUN LAND & RGITC, CO., a Florida
     limited liability company,

             Plaintiffs,

     v.

     DOMINICAN REPUBLIC, a foreign state, and
     INSTITUTO NACIONAL DE RECURSOS
     HIDRAULICOS, a foreign government
     agency,

             Defendants.


                               DECLARATION IN SUPPORT OF MOTION

             Pursuant to 28 U.S.C. § 1746, I, Cesar Pina Toribio, Esq., under penalty of

     perjury, do hereby declare the following:

             1.      I am over 18 years old and I have first-hand knowledge of the facts

     described herein.

            2.       I am the General Counsel to the Executive Branch of the Dominican'
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    Republic. I have held this position since August 16, 2012. My responsibilities include, b

    are not limited· to, the following: a) Assisting the President of the Republic in           e
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    performance of his powers; and b) Ensuring that the administrative doctrine of Pu ic        Translation

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                                            DOMINICAN REPUBLIC

                              THE EXECUTIVE BRANCH GENERAL COUNSEL
                                              SANTO DOMINGO
                                               National District


     Administra tion is consistent in construing and enforcing the law.

             3.     The Dominican Republic is a sovereign nation with a democratically

     elected government.

            4.      In the Dominican Republic Constitution, Article 7 establishes: "Social

     Democratic State of Law. The Dominican Republic is a Social Democratic State of

     Law, organized as a unitary Republic, founded on the respect for human dignity,

     fundamental rights, labor, sovereignty of the people, and the separation and

     independence of the public branches of power."

            5.      The National Institute for Water Resources ("INDRHI" , by its

     Spanish acronym), is an autonomous institution with its own independent capital,

    created on September 8, 1965, under Law No. 6.

            6.     Article 1 of Law No. 6 reads: "The National Institute for Water

    Resources (INDRHI) is created, which is an autonomous, independent entity with

    equity capital and a limited life, subject to the prescription s of this Law and of any

    Regulation s issued by the Executive Branch and submitted thereto by the Board of

    Directors, without prejudice to the provisions of subsection a), Art. 10["].

           7.      Article 2 of Law No. 6 reads: "The INDRHI is set up as a corporate

    entity, with all the attributes inherent to said status, and establishes its domicile in   •

    the city of Santo Domingo, National District, Capital of the Dominican Republic."




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                                THE EXECUTIVE BRANCH GENERAL COUNSEL
                                                   SANTO DOMINGO
                                                    National District



     authority responsible for supervising, managing and administering the country's water

     resources.

              I 0.   The INDRHI is led and administered by an Executive Director and a

     Board of Directors.

              I I.   It manages an annual budget of approximately US$ 120 million and

     employs more than 4,000 employees, at over fifty (50) offices located throughout the

     entire territory of the Dominican Republic.

             12.     Article 141 of the Dominican Republic Constitution reads: "Autonomous

     and decentralized bodies. The law shall create autonomous decentralized agencies within

    the State, provided with legal status, [and] with administrative, financial and technical

    autonomy. These agencies shall be assigned to the administration sector that is compatible

    with their activity, under the oversight of the principal Minister of said sector. The law

    and the Executive Branch shall regulate the policies for the decentralization of Public

    Administration services."

             I 3.    In the Dominican Republic Constitution, Article 148 establishes:

    "Liability. Public legal entities and the officers or agents thereof shall be jointly and




    a result of any unlawful administrative act or omission."




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                             THE EXECUTIVE BRANCH GENERAL COUNSEL
                                             SANTO DOMINGO
                                              National District



     be the contributions made thereto by the Dominican State through the National

     Budget, the special ailocations established by law, the contributions of international

     bodies, any others earmarked for it by legislation or private parties, and those

     coming from the administration, operation, exploitation or other form of legal

     transaction, as well as from the accounts payable by the beneficiaries of the works

     within its powers."

            15.     Within its functions, the INDRHI prepares and implements, on a

     yearly basis, an Operating Plan detailing all the works and jobs to be performed

     during the period indicated, with their respective investment amounts.

            16.    Every year, the INDRHI receives a budget allocation that includes the

     funds necessary to perform to completion the works and jobs included in the Annual

    Operating Plan.

            17.    Article 8 of Law No. 6 reads: "The INDRHI may carry out any and all

    legal operations or transactions as may be necessary for the attainment of its

    objectives."

           18.     The INDRHI is an entity provided with legal status, with the power t




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      obligations are separate from those of the Dominican Republic.

             19.     The INDRHI manages its day-to-day operations, including, but not

     limited to, hiring and dismissing employees; deciding on future projects; executing

     and supervising its own projects; managing its own accounts payable and receivable;

     and having assets in its own name.

             20.    For the enforcemen t of Law No. 6, Article 4 of Regulation No. 1558

     reads: "The Board of Directors is the highest body of the INDRHI and lays out the

     agency's general policy, subject to any and all applicable laws, to the regulations

     thereof as may be decreed by the Executive Branch, and to its own regulations. [The

     Board] shall commission said policy to the Executive Director, delegating upon

     him/her the powers granted to it by Law, in order to fully attain the objectives of the

    INDRHI."


    GIVEN in Santo Domingo, National District, Capital of the Dominican Republic, on
    September six (6), two thousand thirteen (2013).




                                                      Isl [Illegible]
                                                 Cesar Pina Toribio, Esq.
                                          General Counsel to the Executive Branch




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                                               CERTIFICATE OF ACCURACY

     The undersigned, Dr. Luis A. de la Vega, Chairman of ProTranslating, appearing
     on behalf of Pro Translating, hereby states, to the best of his knowledge and belief,
     that the foregoing is an accurate translation of the attached original document in
     the        5 G\.r\,t'.Sk          language, consisting of                        fv-e,
                                                                         pages, and that
     this is the la t of the attached.




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     Luis A. de la Vega, Ph. D ..
     Chainnan
     For ProTranslating


     State of Florida
     County of Miami-Dade

    The foregoin~ certificate was acknowledged before me on this \ 'O - day of
       ?f~19cf , 2-o\3, by Dr. Luis A. de la Vega, Chairman of
                                                                                                      *'
    Pro Translating, a Florida corporation, on behalf of the corporation. He is
    personally known to me.




    Notary Public

    My commission expires:
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                                   ENKRll ZAMILAN
         f.        ~     .\ Notary Public· State of Florida
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                          2850 Douglas Hoacl; Cofal Gables, Fi )3134 Ph: 305.371.7887 Fa>< 305.371.~+816
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